‘Case 1:24-cr-00542-AS Document 461 Filed 07/10/25 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
500 PEARL STREET
NEW YORK, NEW YORK 19007

CHAMBERS OF

ARUN SUBRAMANIAN

UNITED STATES DISTRICT JUDGE

June 30, 2025

Dear Jurors:

I received your note. I remind every juror of their duty to deliberate and their
obligation to follow my instructions on the law. With that instruction in mind, please
resume your deliberations. If any further issue on this topic arises, please have your
foreperson send a further note. Please ensure that any notes do not reference or
reveal any juror’s view of the evidence, the merits of the case, or the breakdown of
the vote.

Respectfully,

C

Hon. Arun Subramanian

